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The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 23, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

                                                                           )
          In re:                                                           )   Chapter 7
                                                                           )
          HIGHLAND SELECT EQUITY FUND GP, L.P., 1                          )   Case No. 23-31039-mvl7
                                                                           )
                                              Debtor.                      )
                                                                           )

                                 ORDER APPROVING STIPULATION
                         WITHDRAWING MOTION TO TRANSFER/REASSIGN CASE

                   Upon consideration of the Stipulation Withdrawing Motion to Transfer/Reassign Case (the

      “Stipulation”) 2 by and between Highland Capital Management, L.P., The Dugaboy Investment

      Trust, Highland Select Equity Fund GP, L.P. (the “Debtor”), and Scott Seidel, the Chapter 7

      Trustee of the Debtor’s estate, it is HEREBY ORDERED THAT:

                   1.     The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.



      1
        The Debtor’s last four digits of its taxpayer identification number are (9917). The headquarters and service address
      for the Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
      2
          Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in the Stipulation.
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      2.    The Motion shall be deemed withdrawn with prejudice, subject to the terms of the
            Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as
            Modified), as may be applicable [see Case No. 19-34054-sgj11, Docket No. 1808].

      3.    The Court shall retain jurisdiction over all disputes arising out of or otherwise
            concerning the interpretation and enforcement of the Stipulation or this Order.


                                  ###End of Order###




                                            2
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                                 EXHIBIT A
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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                   )
    In re:                                                         )   Chapter 7
                                                                   )
    HIGHLAND SELECT EQUITY MASTER FUND,                            )   Case No. 23-31037-swe7
    L.P., 1                                                        )
                                                                   )
                                     Debtor.                       )
                                                                   )
    In re:                                                         )   Chapter 7
                                                                   )
    HIGHLAND SELECT EQUITY FUND GP, L.P., 2                        )   Case No. 23-31039-mv17
                                                                   )
                                     Debtor.                       )
                                                                   )



1
  The Debtor’s last four digits of its taxpayer identification number are (0466). The headquarters and service address
for the Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
2
  The Debtor’s last four digits of its taxpayer identification number are (9917). The headquarters and service address
for the Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                               STIPULATION WITHDRAWING
                            MOTION TO TRANSFER/REASSIGN CASE

        Debtors Highland Select Equity Master Fund, L.P. (“Select Master”) and Highland Select

Equity Fund GP, L.P. (“Select GP” and together with Select Master, the Select Debtors”) and

Highland Capital Management, L.P. (“Highland”), on the one hand, and The Dugaboy Investment

Trust (“Dugaboy”), on the other hand, and Scott Seidel, Chapter 7 Trustee of the Select Debtors’

bankruptcy estates (the “Trustee”) hereby enter the following stipulation (the “Stipulation”):

        WHEREAS, on June 12, the Debtors filed their Motion to Transfer/Reassign Case (Docket

[Docket No. 9/9] 3 (the “Motion to Transfer”);

        WHEREAS, on July 10, 2023, Dugaboy filed its objection to the Motion to Transfer

(Docket No. 17/20);

        WHEREAS, on July 10, 2023, the Trustee filed his response to the Motion to Transfer

(Docket No. 21/19);

        WHEREAS, on July 14, 2023, Highland filed its response and joinder to the Motion to

Transfer [Docket No. 26/27] (the “Joinder”, and together with the Motion to Transfer, the

“Motion”);

        WHEREAS, the counsel for each of the parties met and conferred in good faith and reached

the following agreement to fully and finally resolve the Motion to Transfer:

        1. The Motion shall be deemed withdrawn with prejudice, subject to the terms of the Fifth

             Amended Plan of Reorganization of Highland Capital Management, L.P. (as

             Modified), as may be applicable [see Case No. 19-34054-sgj11, Docket No. 1808].




3
  References to “Docket No. __/__” refer first to the docket maintained in the Select Master bankruptcy case and then
to the docket maintained in the Select GP bankruptcy case.

                                                         2
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        2. The Court shall retain jurisdiction over all disputes arising out of or otherwise

             concerning the interpretation and enforcement of the Stipulation.



 Dated: October 18, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

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                                            -and-

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                                           Proposed Special Counsel for Trustee




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